             Case 7:22-cv-05452-CS Document 1 Filed 06/28/22 Page 1 of 25




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------x
BRADLEY CONDIT,                                                     :
                                                                    :
                                Plaintiff,                          :   Index No.
                                                                    :
                  v.                                                :   COMPLAINT
                                                                    :
CELSIUS NETWORK LLC and YARON SHALEM, :                                 Jury Trial Demanded
in his individual and professional capacities.                      :
                                                                    :
                                Defendants.
--------------------------------------------------------------------x

        Plaintiff Bradley Condit, by his attorneys, Parker Pohl LLP, as and for his Complaint

against Defendants Celsius Network LLC (“Celsius”) and Yaron Shalem, alleges as follows:

                                              INTRODUCTION

        1.       Celsius Network LLC (“Celsius” or “Company”) is a fintech startup founded in

2017 with the goal of “disrupting the financial industry” with an innovative cryptocurrency

platform. (See https://celsius.network/careers) Celsius is an “industry leader” with a “mission

towards economic freedom for everyone.” It invites job applicants to join in its venture, stating:

“The revolution has started. Join us.” (See id.)

        2.       In 2020, Bradley Condit did just that. He was significantly older than most Celsius

employees and had decades of accounting and finance experience. In October 2020, Condit was

hired to be Celsius’s Controller on a contract basis, and he became the Company’s full-time

Controller on January 1, 2021.

        3.       Condit was hired by Harumi Urata-Thompson and Daniel Leon, before Yaron

Shalem joined Celsius in or around April 2021. To induce him to take the job at a substantially

below-market salary, management told him, repeatedly, that he and other executives would be

granted valuable equity and become “rich” as soon as the Company took off.



                                                         1
            Case 7:22-cv-05452-CS Document 1 Filed 06/28/22 Page 2 of 25




       4.      Condit excelled as Controller from the start, never received a negative review, and

was well-liked by his team.

       5.      He also had a history of cancer – a result of his work as a First Responder at Ground

Zero when the Twin Towers collapsed on 9/11. Although he survived cancer, the experience left

him with continuing neuropathy and weakened his immune system.

       6.      These disabling conditions put Condit at a significant disadvantage when, during

his short tenure at Celsius, he had the misfortune of contracting not only COVID-19, but also Lyme

disease and Ehrlichiosis. Those illnesses led to life-threatening medical issues and a hospitalization

a few months into his employment.

       7.      Celsius learned of Condit’s health issues and, instead of reacting with sympathy, it

(and in particular Shalem) decided to get rid of Condit. Indeed, shortly after learning of Condit’s

disabling health conditions, and as a result of them, Celsius began to phase him out by trying to

fire him without basis, drastically decreasing his responsibilities, and beginning the process of

replacing him with a new Controller.

       8.      That plan came to fruition on September 27, 2021, when Celsius fired Condit

without warning. Remarkably, during his termination meeting, Celsius’s Director of Finance

Yaniv Tsur told Condit that Shalem – who had been aiming to replace Condit since Shalem joined

Celsius in March 2021 – had made the decision to terminate Condit within weeks of Condit

informing Celsius of his June 2021 hospitalization and debilitating illness.

       9.      Celsius also told Condit his termination was due to a company restructuring and

the elimination of his position. But that was clearly a pretext: shortly after firing Condit, Celsius

advertised a job opening for Condit’s exact same position.




                                                  2
          Case 7:22-cv-05452-CS Document 1 Filed 06/28/22 Page 3 of 25




       10.     Put simply, Celsius was motivated by the very things that the anti-discrimination

laws are meant to stamp out: an employee’s disabilities and the perception that an employee’s

health problems somehow made him less capable than others, despite the fact that no one had ever

complained about his performance. Rather than work with Condit to address his health challenges,

as legally obligated to, Celsius simply discarded him.

       11.     Indeed, Celsius diminished his responsibilities and ultimately fired Condit as a

direct result of his disclosure of severe health problems. As this Complaint sets forth, the

circumstances surrounding his reduction in responsibilities and ultimate termination are a textbook

case of disability discrimination under the New York State Human Rights Law (“NYSHRL”) and

the Americans with Disabilities Act (“ADA”).

       12.     As a 9/11 First Responder, a cancer survivor, and an excellent, well-liked employee

with no performance issues, Condit deserved better.

       13.     In addition to the loss of multiple categories of income, including the equity he was

repeatedly promised by Celsius, Condit has suffered severe emotional distress as a result of

Defendants’ discriminatory conduct and his termination.

       14.     By this action, Condit seeks to remedy the injustice caused by Defendants’

discriminatory actions and recover the monetary and non-monetary losses he has suffered as a

result of his unlawful termination.

                           ADMINISTRATIVE PREREQUISITES

       15.     Plaintiff timely pursued all applicable administrative remedies. On or about March

1, 2022, Plaintiff timely filed a Charge of Discrimination with the Equal Employment Opportunity

Commission (Charge No. 520-2022-05370C) against the Defendants herein.




                                                 3
           Case 7:22-cv-05452-CS Document 1 Filed 06/28/22 Page 4 of 25




        16.     The EEOC issued Plaintiff a right to sue letter dated June 7, 2022. This action is

commenced within within 90 days of Plaintiff’s receipt of the right to sue letter. A copy of the

letter is attached.

                                             PARTIES

        17.     Plaintiff is a 62-year-old cancer survivor, with a long, successful career in

accounting and finance. Plaintiff is a resident of Armonk, New York.

        18.     Defendant Celsius is a financial technology platform that serves as a cryptocurrency

bank. Celsius is located in New York, New York at 43 W 23rd Street, New York, NY 10010. Upon

information and belief, Celsius has over 100 employees.

        19.     Defendant Yaron Shalem was the Chief Financial Officer at Celsius between March

and December 2021 until his arrest in Israel for alleged money laundering, fraud, embezzlement

and sexual assault. Upon information and belief, Shalem resides in Israel.

                                 JURISDICTION AND VENUE

        20.     The Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1343

and has supplemental jurisdiction over the state law claims that are alleged pursuant to 28 US.C.

§ 1367, et. seq.

        21.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(1)-(2). A substantial

part of the events or omissions giving rise to Plaintiff’s claims occurred within this District. In

addition, venue is proper under 42 U.S.C. § 2000e-5(f)(3), because the unlawful employment

practice complained of herein occurred within the geographic jurisdiction of the Southern District

of New York.




                                                  4
          Case 7:22-cv-05452-CS Document 1 Filed 06/28/22 Page 5 of 25




                                              FACTS

Condit’s Background: From 9/11 Responder to Successful Finance Career

       22.     Immediately after the planes hit on September 11, 2001, Condit, having been

trained in advanced first aid, ran from his place of work on the 11th Floor of the Travelers Building

in lower Manhattan and provided first aid and assistance to numerous victims on the perimeter of

the North Tower and 7 World Trade Center. Condit arrived on the scene before the NYPD, FDNY

and EMTs.

       23.     Before and after 9/11, Condit had a highly successful, 40-year career in accounting

and finance. In particular, he developed recognized expertise in financial controllership, treasury

management, risk management, investment management, regulatory compliance and Basel I, II

and III. His career has included high-level positions, including Chief Advisor CCAR at Societe

Generale, Global Treasurer at Cantor Fitzgerald, Treasury Controller at Safra Group, Controller

and Head of Decision Support at First Union National Bank (Wells Fargo), and Senior Investment

Manager at Summit Bancorporation.

       24.     Condit also has over 15 years of consulting experience with clients including

Merrill Lynch, RBS, J.P. Morgan Chase, Citibank, Deutsche Bank, Citizens Bank, State Street

Bank and Trust, Satander Bank and TIAA/CREF.

       25.     Condit holds a B.S. Cum Laude in Finance/Economics and an M.B.A. in

Finance/Investments with Distinction from Fairleigh Dickenson University. He also holds a

graduate degree from the Stonier Graduate School of Banking at the University of Delaware and

is completing his doctorate (ABD) in international finance from Pace University. He has the

prestigious designation of Chartered Financial Analyst.




                                                 5
          Case 7:22-cv-05452-CS Document 1 Filed 06/28/22 Page 6 of 25




       26.     Like many other 9/11 heroes, Condit eventually paid a steep price for his exposure

to the pervasive toxins at Ground Zero. In 2015, he was diagnosed with colon cancer.

       27.     Condit underwent seven (7) surgeries and six (6) months of chemotherapy and

ultimately beat the cancer. However, as a result of his struggle with cancer, he suffers from severe

neuropathy to this day with limited use of his hands, arms, legs and feet. Like most cancer

survivors, he also has a severely suppressed immune system.

       28.     In March 2020, Condit suffered a major heart attack also related to his 9/11

exposures, which required surgery and the placement of a stent in his heart. This major health

event – termed a Widow Maker Heart Attack – compounded his already compromised immune

system.

       29.     Researchers have found that 9/11 first responders are at greater risk for

cardiovascular and other health problems. One study discovered that firefighters who arrived

immediately at the scene on the day of the attacks, as Condit did, have a 44% higher risk of

cardiovascular troubles than those who arrived later.

Condit’s Hiring and Excellent Performance at Celsius

       30.     Condit began working at Celsius as an independent contractor on October 3, 2020.

He was hired by Daniel Leon, Celsius’s Co-Founder and Chief Strategy Officer, and Harumi

Urata-Thompson, who was at the time Celsius’s Chief Investment Officer.

       31.     In recognition of his capabilities, Celsius made Condit its full-time Controller three

months later on January 1, 2021.

       32.     During interviews for his position, Celsius repeatedly told Condit that employees

at his level would be granted substantial, valuable equity in the Company. In reliance on these




                                                 6
          Case 7:22-cv-05452-CS Document 1 Filed 06/28/22 Page 7 of 25




promises, Condit agreed to become Celsius’s Comptroller at a well-below-market salary for

someone with his experience and credentials.

       33.     After Condit started the job, Celsius continued to promise that he would receive

equity that would “make [him] rich.”

       34.     Condit’s responsibilities as Controller included planning, directing and

coordinating all operational accounting functions; managing the accumulation and consolidation

of financial data; coordinating and preparing financial statements; coordinating external auditors;

managing the budget; managing books reflecting blockchain activities; assessing accounting

operations, internal controls, software and databases; and overseeing regulatory reporting.

       35.     At 62 years of age, Condit was the oldest employee at Celsius.

       36.     Condit’s first few months at Celsius went smoothly. He was well-liked by his team

and received positive feedback.

       37.     In fact, during his entire tenure at Celsius, Condit never received a single complaint

about his performance or a negative review.

Condit Contracts COVID-19 and Informs Celsius of His Underlying Health Conditions

       38.     On January 6, 2021, Condit contracted COVID-19 while at cardiac rehab. Condit

suffered serious symptoms, for which he received a monoclonal-antibody infusion on January 15,

2021. Initially, he was able to keep working from home despite the severity of his sickness.

       39.     However, in February 2021, he began suffering debilitating symptoms. While he

did not know it at the time, he later was diagnosed with Lyme disease and Ehrlichiosis. These

illnesses caused recurring fever, fatigue, shortness of breath, nausea, weakness and blurred vision.

       40.     In or around February and March 2021, Condit informed Trunshedda Ramos,

Celsius’s Chief Human Resources Officer, about his health challenges and his underlying disabling




                                                 7
           Case 7:22-cv-05452-CS Document 1 Filed 06/28/22 Page 8 of 25




medical condition. He also told Ramos that he was seeking medical treatment for his as-yet

undiagnosed symptoms.

       41.     Despite the severity of his COVID and the effects of his Ehrlichiosis and Lyme

disease, Condit continued his excellent performance as Celsius’s Controller. However, since

January 6, 2021 to the present, Condit has suffered from “long Covid,” and is currently

participating in a clinical study into the effects of long Covid.

Yaron Shalem Becomes Celsius’s CFO and Begins Targeting Condit

       42.     In March 2021, Shalem became Celsius’s CFO and Condit’s supervisor. Celsius

hired Shalem as CFO despite warnings directly to Alex Mashinsky (Celsius’s co-founder and

CEO) that Shalem was being sued in Israel for fraud and embezzlement, which meant that criminal

charges were likely to follow.1

       43.     Although Shalem was Condit’s supervisor, Shalem barely spoke to Condit about

his job and did not engage in any review of Condit’s performance.

       44.     Nevertheless, just after Condit had disclosed his disability to HR, Shalem wasted

no time targeting Condit.

       45.     For example, in or around April 2021, barely a month after Condit revealed his

disabling health problems, Shalem approached Condit’s direct reports to ask if there was a basis

to “get rid of” him. Condit’s reports responded that Condit was doing an excellent job and that

there was no basis to fire him.

       46.     When that approach failed, Shalem directed Eran Levi, Celsius’s Controller over

European divisions, to decrease Condit’s responsibilities and cut him off from his direct reports.




1
       Sure enough, in November 2021, Shalem was arrested in Israel on suspicion of money
       laundering, fraud, and sexual assault. Click here for the public report.

                                                  8
             Case 7:22-cv-05452-CS Document 1 Filed 06/28/22 Page 9 of 25




For example, Levi blocked Condit’s participation in monthly close processes and removed the

financial controls Condit had previously exercised and which fell squarely within his duties as

Controller. There was no legitimate, non-discriminatory business reason for Shalem, via Levi, to

decrease Condit’s responsibilities – he was beginning the process of getting rid of Condit as a

result of his disabilities and Celsius’s perception that he was disabled.No one with a supervisory

role at Celsius objected to or tried to stop Shalem and Levi from decreasing Condit’s

responsibilities in this manner, and there was no attempt by anyone at Celsius to remediate the

situation.

Celsius Posts Condit’s Controller Job on Its Website

        47.     Sometime in May 2021, Condit discovered to his shock that Celsius was posting

his Controller job on its website as a position the Company was seeking to fill.

        48.     When Condit confronted Shalem about why he was trying to fill Condit’s position,

Shalem said Celsius was just trying to provide Condit with “extra support.” The explanation was

demonstrably false: the job posting advertised Condit’s Controller position, not a support position.

Shalem’s purported explanation was nothing more than a pretext for his illegal, discriminatory

efforts to get rid of Condit.

Celsius Refuses Condit’s Requests for Accommodation Due to Illness

        49.     Later in May 2021, Condit developed a high fever of 103.8 degrees as a result of

his still-undiagnosed Lyme disease and Ehrlichiosis and asked if he could be excused from an

upcoming meeting.

        50.     After several emails to Shalem requesting that he be excused as an accommodation

for his illness, to which Shalem did not even respond, Levi told Condit that he had to attend the




                                                 9
          Case 7:22-cv-05452-CS Document 1 Filed 06/28/22 Page 10 of 25




meeting. Shalem, and Celsius, knew that Condit was experiencing dangerous fever symptoms and

nonetheless declined his request to accommodate his illness.

        51.     Celsius’s failure to accommodate Condit’s minimal request was another indication

of Celsius’s total disregard of his health problems and its efforts to make his job intolerable. It was

also part and parcel of Celsius’s retaliatory actions against Condit, i.e., the further reduction of his

responsibilities and his ultimate firing.

Condit Is Hospitalized and Again Informs Celsius of His Disabling Health Conditions

        52.     In June 2021, Condit was hospitalized with a high fever, and doctors diagnosed him

with Lyme disease and Ehrlichiosis. Because of his compromised immune system and the time it

took to diagnose the conditions, Condit also developed sepsis, and kidney and liver failure, which

required him to receive two simultaneous intravenous antibiotics for five days. In fact, as medical

records corroborate, he was near death. Condit now has Stage 2 kidney disease.

        53.     While Condit was still in the hospital, his wife informed Celsius, via email to

Ramos, of his serious disabling illness.

        54.     Thankfully, after five days in the hospital (and three days of missed work), Condit

recovered and was able to return to work.

        55.     When he returned to work, Condit informed Ramos via email (copying Shalem)

that doctors predicted his full recovery would take approximately three months. Unfortunately,

informing Celsius of his health condition – and, in particular, the length of time he would need to

heal – led only to further discrimination.




                                                  10
          Case 7:22-cv-05452-CS Document 1 Filed 06/28/22 Page 11 of 25




Celsius Further Reduces Condit’s Responsibilities and Effectively Replaces Him

       56.     Upon Condit’s return from the hospital, Celsius and Shalem continued

discriminating against him by further reducing and/or eliminating his responsibilities, including

his responsibility to account for investments and his role dealing with outside auditors.

       57.     Then, in July 2021 – within approximately five months of Condit first informing

Celsius of his disabilities and within just a month of his hospitalization – Shalem told Condit that

Shalem had decided that Darren Yarwood, would “function” as Controller, but that Condit would

“technically” still be Controller.

       58.     Shalem’s nonsensical move made clear he had taken Condit’s job away from him.

Shalem Denies Condit Vacation That Had Been Previously Approved

       59.     In early July 2021, Shalem approved Condit’s email request for a family vacation

from August 2-6. Per company policy, and based on Shalem’s approval as his supervisor, Condit

then submitted the request in the Celsius HR system, which required final “sign off” from Shalem

in the HR system.

       60.     As Condit’s vacation approached, Shalem still had not formally approved the

vacation in the HR system. Condit sent several emails to Shalem reminding him to approve the

request, to no avail. However, Shalem did reply to one of the emails by saying “I will take care of

this; it’s approved.”

       61.     Based on Shalem’s informal email approvals, Condit left for his family vacation to

Rhode Island on Saturday July 31. The next day, Condit received an email from Shalem with the

subject line “Vacation Request Denied.” The body of Shalem’s message asked Condit who was

covering for him when he was on vacation, despite the fact that the week before Condit had

informed Shalem that his Assistant Controller and Senior Accountant were covering for him and




                                                11
          Case 7:22-cv-05452-CS Document 1 Filed 06/28/22 Page 12 of 25




were fully briefed on what needed to be done while Condit was away. Condit had also made clear

to Shalem that he would be available if needed while on vacation. Thus, Shalem’s question about

coverage was a façade designed to falsely suggest that Condit was neglecting his duties.

       62.     Condit responded immediately with an email to Shalem and the entire Celsius

accounting department saying that he would leave his family vacation in Rhode Island and return

to work. Only after this reply to the entire department did Shalem respond to say that Condit could

stay on vacation and actually claimed that he had had hit the “wrong button” on the vacation

request. Shalem’s purported denial of Condit’s vacation request, after approving the request and

after Condit had already left for his approved vacation, was yet another act of hostility by Shalem

toward Condit based on his disability.

Celsius Wrongfully Withdraws Condit’s CEL Tokens

       63.     On or about August 18, 2021, Celsius withdrew 2,727.60 CEL tokens from

Condit’s Celsius account with a value of approximately $16,938.40 at the time.

       64.     However, Celsius had previously withdrawn those same CEL tokens from Condit’s

account on or about Mary 28, 2021.

       65.     Celsius’s withdrawal of the CEL tokens on August 18 was duplicative of the

previous withdrawal, and Celsius was not entitled to withdraw the CEL tokens again.

       66.     Celsius’s improper withdrawal was yet another instance of discrimination and

retaliation against Condit.

Celsius Fires Condit Based on a Decision Made Just After Condit’s Hospitalization

       67.     Celsius’s discriminatory pattern of reducing Condit’s responsibilities, advertising

his job, and effectively replacing him (all while he indisputably had no performance issues

whatsoever) culminated in Celsius firing him on September 27, 2021.




                                                12
          Case 7:22-cv-05452-CS Document 1 Filed 06/28/22 Page 13 of 25




       68.     That day, Condit attended a meeting with Yaniv Tsur, Celsius’s Director of

Finance, where Tsur told him that: (a) Condit’s Controller position was being eliminated; (b)

Shalem had made the decision to fire Condit; and (c) the decision had been made in July 2021, just

after Condit’s disabling hospitalization in June.

After Telling Condit His Job Had Been Eliminated, Celsius Advertises for His Replacement

       69.     Incredibly, even though Celsius had told Condit he was being fired because his

position was being eliminated, Celsius posted job openings for that very same position shortly

after firing Condit.

       70.     The postings described the same responsibilities as Condit’s position, including all

of the duties described herein.

       71.     Indeed, Celsius’s claim that Condit’s position had been eliminated was false and

plainly a pretext for discrimination.

       72.     Celsius later claimed that it had transformed Condit’s Controller position into

multiple positions as part of a business restructuring. But Condit was never offered any of these

purported positions, despite being fully qualified for all of them.

       73.     Celsius ultimately hired a Controller to replace Condit.

       74.     Celsius replaced Condit with Liran Shaulov, who, upon information and belief, has

at most four years of experience in finance and accounting.

Celsius Grants Equity to Condit’s Peers

       75.     Upon information and belief, within days after Celsius fired Condit and in keeping

with the timeline Alex Mashinsky had promised to Condit and other senior employees, the

Company granted Condit’s peers shares of equity in the Company.




                                                 13
            Case 7:22-cv-05452-CS Document 1 Filed 06/28/22 Page 14 of 25




       76.      Of course, Condit had been promised that same equity grant, repeatedly, by Celsius

and he had agreed to become Celsius’s Controller at a below-market salary in reliance on those

promises.

       77.      Instead of fulfilling those promises, Celsius fired Condit in violation of the

NYSHRL and the ADA, thereby causing him to lose out on valuable compensation.

       78.      Moreover, Celsius had granted Condit valuable CEL tokens as part of his

compensation. Celsius took back those CEL tokens after wrongfully terminating Condit, thereby

also depriving him of valuable compensation.

       79.      In addition, Celsius CEL tokens have plummeted in value since Condit’s

termination. But for Celsius’s discriminatory and retaliatory termination, Condit could have

realized significant value from the CEL tokens he was granted and from the CEL tokens he should

have been granted, but that Celsius either wrongfully took from him or did not allow to vest as

they would have.

                               FIRST CAUSE OF ACTION
   (Disability Discrimination under ADA – Hostile Work Environment, Discriminatory
Termination, Regarded As Disabled, and Failure to Provide a Reasonable Accommodation)
                                (Against Both Defendants)

       80.      Plaintiff realleges each of the foregoing allegations as if fully set forth herein.

       81.      Defendants were Plaintiff’s employer under the ADA.

       82.      The term disability under the ADA is defined to include “(A) a physical or mental

impairment that substantially limits one or more major life activities of such individual; (B) a

record of such impairment; or (C) being regarded as having such an impairment.” 42 U.S.C. §

12101(1).

       83.      Major life activities include standing, lifting, bending, speaking, and working. Id.

§ 12101(2)(A).



                                                  14
           Case 7:22-cv-05452-CS Document 1 Filed 06/28/22 Page 15 of 25




        84.        Plaintiff suffers from a physical or mental impairment of the body, including,

without limitation, the disabling effects of cancer, Lyme disease, and Ehrlichiosis.

        85.        Plaintiff’s physical or mental impairment, including without limitation, the

disabling effects of cancer, Lyme disease, and Ehrlichiosis, substantially limits Plaintiff’s major

life activities.

        86.        Plaintiff has a record of a physical and mental impairment within the meaning of

the ADA.

        87.        Defendants regarded Plaintiff as having an impairment within the meaning of the

ADA.

        88.        Plaintiff was, at all relevant times, a person with a “disability” within the meaning

of the ADA.

        89.        Defendants had notice of Plaintiff’s disabilities.

        90.        Plaintiff was qualified to perform the essential functions of his job, with reasonable

accommodations, including but not limited to, time off to care for his serious medical conditions.

Therefore, Plaintiff was, at all relevant times, a “qualified individual with a disability” within the

meaning of the ADA.

        91.        The ADA requires an employer to engage in a good faith interactive process to

provide a reasonable accommodation to a qualified individual with a disability.

        92.        Plaintiffs, due to his disability, was entitled to receive a reasonable accommodation.

        93.        Defendants failed and refused to engage in the good faith interactive process

required under the ADA to identify what reasonable accommodations were appropriate to provide

Plaintiff, and Defendants failed and refused to make a reasonable accommodation for Plaintiff’s

disabilities.




                                                     15
          Case 7:22-cv-05452-CS Document 1 Filed 06/28/22 Page 16 of 25




        94.    Defendants discriminated against Plaintiff in the terms and conditions of his

employment based on his disability by failing to provide him with a reasonable accommodation.

        95.    As a result of his disability, Defendants subjected Plaintiff to a hostile work

environment that was permeated with discriminatory intimidation and ridicule that altered the

conditions of his employment and created an abusive working environment.

        96.    Defendants discriminated against Plaintiff because of his disability in violation of

the ADA by, without limitation, (a) reducing his responsibilities and effectively replacing him as

Controller, and (b) ultimately firing Plaintiff under the pretext of restructuring.

        97.    Defendant Shalem instigated, caused, participated in, and accomplished some or all

of the discriminatory acts that form the basis for Plaintiff’s claims. Defendant Celsius encouraged,

approved, acquiesced and/or condoned (through active support and/or calculated inaction) those

acts.

        98.    Therefore, Celsius is liable for its own acts as an employer and is also (or

alternatively) vicariously liable for the acts of Shalem.

        99.    As a direct and proximate result of Defendants’ unlawful discriminatory conduct in

violation of the ADA, Plaintiff has suffered, and continues to suffer, monetary and/or economic

harm for which he is entitled to an award of monetary damages and other relief, including but not

limited to compensatory damages, his CEL tokens, and the equity Celsius promised him and to

which he is entitled.

        100.   As a direct and proximate result of Defendants’ unlawful discriminatory conduct in

violation of the ADA, Plaintiff has suffered, and continues to suffer, severe mental anguish and

emotional distress for which he is entitled to an award of monetary damages and other relief in an

amount to be determined at trial.




                                                  16
         Case 7:22-cv-05452-CS Document 1 Filed 06/28/22 Page 17 of 25




       101.    Plaintiff suffered, and continues to suffer, the impact of Defendants’ discriminatory

actions at his residence and home office in Armonk, New York, which is where he performed

almost all of his work when he was employed by Celsius.

                              SECOND CAUSE OF ACTION
         (Disability Discrimination under NYSHRL – Hostile Work Environment,
    Discriminatory Termination, and Failure to Provide a Reasonable Accommodation)
                                 (Against Both Defendants)

       102.    Plaintiff realleges each of the foregoing allegations as if fully set forth herein.

       103.    Defendants are employers subject to the NYSHRL.

       104.    At all times relevant to the allegations against him, Defendant Shalem was Condit’s

supervisor, was an executive officer of Celsius, and had an ownership interest in Celsius. At all

times relevant to the allegations against him, Shalem had substantial authority and responsibility

to make decisions regarding the terms of employment at Celsius, including but not limited to

changing or reducing an employee’s responsibilities, replacing an employee, and/or terminating

an employee.

       105.    N.Y. Executive Law § 296(1) makes it unlawful:

               [f]or an employer . . . because of an individual’s age, race, creed,
               color, national origin, sexual orientation, military status, sex,
               disability, predisposing genetic characteristics, familial status,
               marital status, or domestic violence victim status, to refuse to hire
               or employ or to bar or to discharge from employment such
               individual or to discriminate against such individual in
               compensation or in terms, conditions or privileges of employment.

       106.    Plaintiff suffers from a physical or medical impairment resulting from anatomical,

physiological, genetic, or neurological conditions which prevented the exercise of a normal bodily

function and/or is demonstrable by medically accepted clinical or laboratory diagnostic techniques,

and Plaintiff has a record of such impairment.




                                                 17
           Case 7:22-cv-05452-CS Document 1 Filed 06/28/22 Page 18 of 25




        107.    Plaintiff suffers from, without limitation, the disabling effects of cancer, Lyme

disease, and Ehrlichiosis.

        108.    Defendants had notice of Plaintiff’s disabilities.

        109.    Plaintiff was qualified to perform the essential functions of his job, with reasonable

accommodations, including but not limited to, time off to care for his serious medical conditions.

        110.    Defendants failed and refused to engage in the good faith interactive process

required under the NYSHRL to identify what reasonable accommodations were appropriate to

provide Plaintiff, and Defendants failed and refused to make a reasonable accommodation for

Plaintiff’s disabilities.

        111.    Defendants discriminated against Plaintiff based on his disability by failing to

provide him with a reasonable accommodation.

        112.    As a result of his disability, Defendants subjected Plaintiff to a hostile work

environment that was permeated with discriminatory intimidation and ridicule that altered the

conditions of his employment and created an abusive working environment.

        113.    Defendants discriminated against Plaintiff because of his disability in violation of

the NYSHRL by, without limitation, (a) reducing his responsibilities and effectively replacing him

as Controller, and (b) ultimately firing Plaintiff under the pretext of restructuring.

        114.    Defendant Shalem instigated, caused, participated in, and accomplished some or all

of the discriminatory acts that form the basis for Plaintiff’s claims. Defendant Celsius encouraged,

approved, acquiesced and/or condoned (through active support and/or calculated inaction) those

acts.

        115.    Therefore, Celsius is liable for its own acts as an employer and is also (or

alternatively) vicariously liable for the acts of Shalem.




                                                  18
         Case 7:22-cv-05452-CS Document 1 Filed 06/28/22 Page 19 of 25




       116.     As a direct and proximate result of Defendants’ unlawful discriminatory conduct in

violation of the NYSHRL, Plaintiff has suffered, and continues to suffer, monetary and/or

economic harm for which he is entitled to an award of monetary damages and other relief,

including but not limited compensatory damages, his CEL tokens, and the equity Celsius promised

him and to which he is entitled.

       117.     As a direct and proximate result of Defendants’ unlawful discriminatory conduct in

violation of the NYSHRL, Plaintiff has suffered, and continues to suffer, severe mental anguish

and emotional distress for which he is entitled to an award of monetary damages and other relief

in an amount to be determined at trial.

                                     THIRD CAUSE OF ACTION
              (Disability Discrimination under NYSHRL – Regarded As Disabled)
                                   (Against Both Defendants)

       118.     Plaintiff realleges each of the foregoing allegations as if fully set forth herein.

       119.     The term disability under the NYSHRL is defined to include “a condition regarded

by others as such an impairment.”

       120.     Plaintiff suffers from a physical or medical impairment resulting from anatomical,

physiological, genetic or neurological conditions which prevents the exercise of a normal bodily

function and/or is demonstrable by medically accepted clinical or laboratory diagnostic techniques,

and Plaintiff has a record of such impairment. Put simply, Plaintiff’s impairments are demonstrable

by medically accepted techniques.

       121.     Defendants regarded Plaintiff’s serious health problems as compromising his

ability to perform his job, preventing him from being a productive employee, and/or posing a risk

of increased costs or inconvenience for Defendants.




                                                  19
          Case 7:22-cv-05452-CS Document 1 Filed 06/28/22 Page 20 of 25




       122.    Defendants discriminated against Plaintiff, based on having regarded him as

disabled, by (a) changing the terms of his employment by reducing his responsibilities and

effectively replacing him as Controller, and (b) ultimately terminating Plaintiff under the pretext

of restructuring.

       123.    As described in the Facts section of this Complaint, Defendant Shalem instigated a

significant portion of the discriminatory conduct referenced in the preceding paragraph. Indeed,

Shalem instigated, caused, participated in, and accomplished some or all of the discriminatory acts

that form the basis for Plaintiff’s claims. Defendant Celsius encouraged, approved, acquiesced

and/or condoned (through active support and/or calculated inaction) those acts.

       124.    Therefore, Celsius is liable for its own acts as an employer and is also (or

alternatively) vicariously liable for the acts of Shalem.

       125.    As a direct and proximate result of Defendants’ unlawful discriminatory conduct in

violation of the NYSHRL, Plaintiff has suffered, and continues to suffer, monetary and/or

economic harm for which he is entitled to an award of monetary damages and other relief,

including but not limited compensatory damages, his CEL tokens, and the equity Celsius promised

him and to which he is entitled.

       126.    As a direct and proximate result of Defendants’ unlawful discriminatory conduct in

violation of the NYSHRL, Plaintiff has suffered, and continues to suffer, severe mental anguish

and emotional distress for which he is entitled to an award of monetary damages and other relief.

       127.    Plaintiff suffered, and continues to suffer, the impact of Defendants’ discriminatory

actions at his residence and home office in Armonk, New York, which is where he performed

almost all of his work when he was employed by Celsius.




                                                 20
            Case 7:22-cv-05452-CS Document 1 Filed 06/28/22 Page 21 of 25




                                   FOURTH CAUSE OF ACTION
                (Aiding and Abetting Disability Discrimination under NYSHRL)
                                 (Against Defendant Shalem)

       128.     Plaintiff realleges each of the foregoing allegations as if fully set forth herein.

       129.     As described in the Facts section of this Complaint, Defendant Shalem instigated a

significant portion of the discriminatory conduct referenced above. His acts were performed with

intent to discriminate against Condit for his disability or perceived disability, an intent he shared

with Celsius.

       130.     Shalem’s discriminatory acts assisted and were in concert with those of Celsius and

other supervisory employees at Celsius, including Eran Levi and Yaniv Tsur.

       131.     Shalem’s personal participation in the discriminatory conduct therefore constituted

aiding and abetting of Celsius’s NYSHRL violations, pursuant to N.Y. Exec. Law § 296(6), which

provides: “It shall be unlawful discriminatory practice for any person to aid, abet, incite, compel

or coerce the doing of any of the acts forbidden under [the NYSHRL], or to attempt to do so.”

       WHEREFORE, Plaintiff requests that the Court grant judgment in his favor and against

Defendants, providing for the following relief:

       a.       An award of damages against Defendants, in an amount to be determined at trial,

plus prejudgment interest, to compensate Plaintiff for all monetary and/or economic damages,

including, but not limited to, loss of past and future income, wages, compensation, seniority, and

other benefits of employment;

       b.       An award of damages against Defendants, in an amount to be determined at trial,

plus prejudgment interest, to compensate Plaintiff for all non-monetary and/or compensatory

damages, including, but not limited to, compensation for his severe emotional distress;




                                                  21
            Case 7:22-cv-05452-CS Document 1 Filed 06/28/22 Page 22 of 25




       c.       An award of damages for any and all other monetary and/or non-monetary losses

suffered by Plaintiff, including, but not limited to, loss of income, reputational harm and harm to

professional reputation, in an amount to be determined at trial, plus prejudgment interest;

       d.       An award of punitive damages, in an amount to be determined at trial;

       e.       An award of any applicable penalties and/or liquidated damages in an amount to be

determined at trial;

       f.       An award of attorneys’ fees and costs that Plaintiff has incurred in this action, to

the fullest extent permitted by law; and

       g.       Such other and further relief as the Court may deem just and proper.


Dated: New York, New York                             PARKER POHL LLP
       June 28, 2022

                                                      By: __________________________
                                                              M. Todd Parker
                                                              Hyatt M. Howard
                                                              Wendy W. Tannenbaum

                                                      99 Park Avenue, Suite 1510
                                                      New York, New York 10016
                                                      (212) 202-8886
                                                      (646) 924-3100 (fax)

                                                      Attorneys for Plaintiff Bradley Condit




                                                 22
       Case 7:22-cv-05452-CS Document 1 Filed 06/28/22 Page 23 of 25




                     EXHIBIT A
	  
	  
Case 7:22-cv-05452-CS Document 1 Filed 06/28/22 Page 24 of 25
Case 7:22-cv-05452-CS Document 1 Filed 06/28/22 Page 25 of 25
